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         12                            UNITED STATES DISTRICT COURT
         13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
         14                           WESTERN DIVISION – LOS ANGELES
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         16        PATAGONIA, INC. and                Case No. 2:19-cv-02702-VAP
                   PATAGONIA PROVISIONS, INC.,
         17                                           REQUEST FOR JUDICIAL NOTICE IN
                                 Plaintiffs,
                                                      SUPPORT OF DEFENDANT’S MOTION TO
         18
                        v.                            DISMISS CLAIMS THREE THROUGH
         19                                           SEVEN OF PLAINTIFFS’ FIRST AMENDED
                   ANHEUSER-BUSCH, LLC dba
                   PATAGONIA BREWING CO. ,            COMPLAINT [FED. R. CIV. P. 12(B)(6)]
         20
                                                      AND MOTION FOR A MORE DEFINITE
         21                      Defendant.           STATEMENT [FED. R. CIV. P. 12(E)]
         22
                                                      Hearing Date: August 19, 2019
         23                                           Time: 2:00 P.M.
         24                                           Court: Courtroom 8A, 8th Floor
                                                      Judge: Hon. Virginia A. Phillips
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ATTORNEYS AT LAW                                              RJN ISO DEFENDANT’S MOTION TO DISMISS
  LOS ANGELES                                                            CASE NO. 2:19-CV-02702-VAP
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            1            Pursuant to Federal Rule of Evidence 201, defendant Anheuser-Busch, LLC dba
            2      Patagonia Brewing Co. (“AB”) respectfully submits this Request for Judicial Notice in
            3      Support of AB’s Motion to Dismiss Claims Three Through Seven of Plaintiffs’ First
            4      Amended Complaint and Motion for a More Definite Statement. AB requests that the
            5      Court judicially notice the attached documents, which are public records of the U.S.
            6      Patent and Trademark Office (“USPTO”) pertaining to certain of the parties’ trademark
            7      filings, as well as other applications and registrations.
            8            Federal Rule of Evidence 201 requires the Court to “take judicial notice if a party
            9      requests it and the court is supplied with the necessary information.” Fed. R. Evid.
         10        201(c)(2). The Court may take judicial notice of a fact that is not subject to reasonable
         11        dispute because it can be accurately and readily determined from sources whose
         12        accuracy cannot reasonably be questioned. Fed. R. Evid. 201(b)(2). The documents
         13        attached hereto clearly meet the requirements of Federal Rule of Evidence 201.
         14              It is well-settled that records and reports from government agencies are the proper
         15        subject of judicial notice. See e.g., Barron v. Reich, 13 F. 3d 1370, 1377 (9th Cir. 1994)
         16        (judicial notice may be taken of “[r]ecords and reports of administrative bodies”);
         17        Interstate Natural Gas Co. v. Southern California Gas Co., 209 F. 2d 380, 385 (9th Cir.
         18        1953) (“We may take judicial notice of records and reports of administrative bodies.”).
         19        This includes documents filed or recorded with the USPTO and available on the
         20        USPTO’s website. See, e.g., Metro Pub., Ltd. v. San Jose Mercury News, 987 F.2d 637,
         21        641 n. 3 (9th Cir. 1993) (taking judicial notice of trademark documents from the USPTO
         22        because their “accuracy cannot reasonably be questioned”); City of Beverly Hills v.
         23        Berry, 2014 WL 12597156, at *2 (C.D. Cal. Nov. 5, 2014) (taking judicial notice of
         24        trademark registration, “courts may take judicial notice of records of administrative
         25        bodies, including USPTO records”); Better Homes Realty, Inc. v. Watmore, 2017 WL
         26        1400065, at *3 (S.D. Cal. Apr. 18, 2017) (taking judicial notice of trademark
         27        assignments filed with the USPTO); Autodesk, Inc. v. Dassault Sys. SolidWorks Corp.,
         28        No. 08-04397, 2008 WL 6742224, at *2 n.1 (N.D. Cal. Dec. 18, 2008) (taking judicial
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            1      notice of trademark registrations and applications publicly available on USPTO
            2      website).
            3            Accordingly, AB respectfully requests that the Court take judicial notice of the
            4      following documents (all of which are publicly available through a search on the
            5      USPTO’s website located at http://tmsearch.uspto.gov/ and https://tsdr.uspto.gov/) and
            6      consider them in connection with AB’s concurrently-filed Motion to Dismiss claims
            7      Three Through Seven of Plaintiffs’ First Amended Complaint:
            8                   Exhibit A: USPTO record for Registration No. 4,226,102 for the
            9                    PATAGONIA mark for beer, owned by AB, including as part of that
         10                      USPTO record: the Statement of Use, filed on July 17, 2012; the Combined
         11                      Declaration of Use and Incontestability under Sections 8 & 15, filed on
         12                      October 5, 2018; and the Notice of Acceptance under Sections 8 & 15
         13                      issued on October 18, 2018.
         14                     Exhibit B: USPTO record for application Serial No. 86/455,281 for the
         15                      PATAGONIA PROVISIONS mark for wines, as of July 2, 2019, including
         16                      as part of that USPTO record: an Office Action issued on December 19,
         17                      2014 (excerpt including pages 1-10, omitting pages 11-69); Response to
         18                      Office Action filed June 19, 2015 (excerpt including pages 1, 224-243,
         19                      omitting pages 2-224), and an Office Action issued on January 21, 2016
         20                      (excerpt including pages 1-8, omitting pages 9-137).
         21                     Exhibit C: USPTO record for application Serial No. 86/455,272 for the
         22                      PATAGONIA mark for wines, as of July 2, 2019, including as part of that
         23                      USPTO record, an Office Action issued on March 2, 2015 (excerpt
         24                      including pages 1-4, omitting pages 5-21).
         25                     Exhibit D: USPTO record for application Serial No. 88/378,549 for the
         26                      PATAGONIA mark for beer, as of July 2, 2019, including as part of that
         27                      USPTO record, an Office Action issued on June 19, 2019 (excerpt
         28                      including pages 1-6, omitting pages 7-31).
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            1           Exhibit E: USPTO record for application Serial No. 88/378,543 for the
            2             PATAGONIA stylized mark for beer, as of July 2, 2019, including as part
            3             of that USPTO record, an Office Action issued on June 19, 2019 (excerpt
            4             including pages 1-6, omitting pages 7-31).
            5           Exhibit F: USPTO record for Registration No. 5,326,625 for the
            6             PATAGONIA ORCHARDS mark for fruits, as of July 2, 2019.
            7           Exhibit G: USPTO record for Registration No. 4,809,266 for the
            8             PATAGONIA BERRIES mark and mountain design for fruit preserves, as
            9             of July 2, 2019.
         10             Exhibit H: USPTO record for Registration No. 4,175,612 for the WILD
         11               PATAGONIA mark for gaming machines, as of July 2, 2019.
         12             Exhibit I: USPTO record for Registration No. 4,384,331 for the
         13               PATAGONIA mark for tires, as of July 2, 2019.
         14             Exhibit J: USPTO record for Registration No. 4,665,133 for the
         15               PATAGONIA mark and design for mineral water, as of July 2, 2019.
         16             Exhibit K: USPTO record for Registration No. 4,426,583 for the
         17               PATAGONIA SUN mark for flowers, as of July 2, 2019.
         18             Exhibit L: USPTO record for Registration No. 4,677,235 for the
         19               PATAGONIA SEAFARMS mark for fish, as of July 2, 2019.
         20             Exhibit M: USPTO record for Registration No. 4,407,659 for the
         21               PATAGONIAMALT mark and mountain design for malt, as of July 2,
         22               2019.
         23             Exhibit N: USPTO record for Registration No. 5,200,215 for the
         24               PATAGONIA REBELDE mark for wine, as of July 2, 2019.
         25             Exhibit O: USPTO record for Registration No. 5,751,555 for the
         26               PATAGONIA CONCHA Y TORO mark for wine, as of July 2, 2019.
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            1                   Exhibit P: USPTO record for Registration No. 5,719,364 for the
            2                     PATAGONIA ORGANICS LLC mark for fruit and vegetables, as of July
            3                     2, 2019.
            4                   Exhibit Q: Patagonia Provisions, Inc.’s Response to Office Action filed
            5                     December 25, 2015, for application Serial No. 86/455,281 (excerpt
            6                     including pages 1-11, omitting pages 12-59).
            7
            8      Dated:        July 3, 2019               COOLEY LLP
            9
                                                            /s/ Bobby Ghajar
         10                                                 Bobby Ghajar
                                                            Amanda Main
         11                                                 Dina Roumiantseva
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         12                                                 ANHEUSER-BUSCH, LLC
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  LOS ANGELES                                                                     CASE NO. 2:19-CV-02702-VAP
